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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 12-82-GF-BMM

                    Plaintiff,                            ORDER

 vs.

 BILLIE JOE BULLSHIELDS,

                    Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on March 29, 2016. Defendant admitted she had

violated Standard Condition 6 of her supervised release by failing to notify her

probation officer of a change in residence, she had violated Standard Condition 7

of her supervised release by using marijuana, she had violated Special Condition 1

of her supervised release by failing to report for substance abuse testing, she had

violated Special Condition 3 of her supervised release by failing to report for
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mental health treatment, and she had violated Special Condition 5 of her

supervised release by consuming alcohol. Judge Johnston found the admissions

sufficient to establish the supervised release violations. He recommended that this

Court revoke Defendant's supervised release and commit her to the custody of the

United States Bureau of Prisons for a term of imprisonment of five months, with

24 months of supervised release to follow.

      No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted she

had violated Standard Conditions 6 and 7, and Special Conditions 1, 3 and 5.

Defendant could be incarcerated for up to 36 months, followed by 42 months of

supervised release less any custody time imposed. The United States Sentencing

Guidelines call for a term of imprisonment of three to nine months. A sentence of

five months in custody, followed by 24 months of supervised release is

appropriate. The sentence is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 221) are ADOPTED in full and Judgment shall be entered accordingly.



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    DATED this 18th day of April, 2016.




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